                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF WISCONSIN
                                       Court Minutes and Order
HEARING DATE:           June 24, 2024
JUDGE:                  Brett H. Ludwig
CASE NO.:               24-cv-0704-bhl
CASE NAME:              Coalition to March on the RNC v. City of Milwaukee et al.
MATTER:                 Status and Scheduling Conference
APPEARANCES:            Hayley Archer & Ryan Cox, Attorneys for Plaintiff
                        Clint Muche & Julie Wilson, Attorneys for Defendants

TIME:         11:32 a.m. – 11:55 a.m.
COURTROOM DEPUTY: Julie D.
              AUDIO OF THIS HEARING IS AT ECF NO. 31


        The Court recited the procedural history of the case and counsel provided their opinions on
how the case should proceed. The Court granted Defendants’ pending motion to file an oversized
brief. The Court also questioned whether the Coalition is the real party in interest under Rule 17(a)
and wanted to confirm there were no standing issues, given that the Coalition is the sole plaintiff.
Counsel for Plaintiff agreed to address the issue in its forthcoming reply brief. Defense counsel
raised questions concerning the potential mootness of some of Plaintiff’s claims and the Court
directed Plaintiff to identify in the reply brief the specific constitutional violations Plaintiff is still
pursuing and the specific relief it is requesting, given recent developments. The Court encouraged
Plaintiff to be concise in its writing, but confirmed it would not be constrained by the local rules’
page limits.
        Counsel for Plaintiff confirmed that Plaintiff does not intend to offer testimony in support
of its motion and will seek a ruling based on the parties’ written submissions. Defense Counsel
agreed with that approach. The Court set oral argument on Plaintiff’s motion for a preliminary
injunction, (ECF No. 1), for Wednesday, July 3 at 9:00 a.m. Oral argument will be confined to
the parties’ written submissions. The Court encouraged the parties to continue talking in the
interim to try to find an amicable resolution.
        Accordingly,
        IT IS HEREBY ORDERED that Defendant’s Motion to Enlarge Page Limits, ECF No.
23, is GRANTED.




          Case 2:24-cv-00704-BHL Filed 06/24/24 Page 1 of 2 Document 32
       IT IS FURTHER ORDERED that the Court will hear oral argument on Plaintiff’s Motion
for a Preliminary Injunction, ECF No. 1, on Wednesday, July 3 at 9:00 a.m. in Courtroom 320,
517 E Wisconsin Ave., Milwaukee, WI 53202.

       Dated at Milwaukee, Wisconsin on June 24, 2024.

                                                  s/ Brett H. Ludwig
                                                  BRETT H. LUDWIG
                                                  United States District Judge




         Case 2:24-cv-00704-BHL Filed 06/24/24 Page 2 of 2 Document 32
